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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


UNITED STATES OF AMERICA                                                            PLAINTIFF


v.                                                   CRIMINIAL ACTION NO. 3:19-CR-19-TBR


BRYAN D. CONLEY                                                                    DEFENDANT


                                              ORDER

       Upon the motion of the United States for leave to file a late response and an extension of

time up to and including January 23, 2023 to respond to motion to dismiss for speedy trial, and the

Court being sufficiently advised as to the need for this additional time.

       IT IS HEREBY ORDERED that the United States motion is GRANTED, and the United

States shall have until January 23, 2023 to file its response.
